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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
CENTURY SURETY COMPANY,                                                :
                                                                       :
                                             Plaintiff,                :
                                                                       :     17-CV-0633 (JMF)
                           -v-                                         :
                                                                       :          ORDER
RUKH ENTERPRISES, INC. et al.,                                         :
                                                                       :
                                             Defendants.               :
                                                                       :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In light of the mandate from the United States Court of Appeals for the Second Circuit,

see ECF No. 150, the parties shall submit a joint letter by November 11, 2021, addressing the

Second Circuit’s decision and the next steps, if any, in this litigation.


        SO ORDERED.

Dated: October 28, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
